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                               United States Pretrial Services
                                                   United States District Court
                                                   Central District of California


               George M. Walker                                                                             Jill F. McClain
       Chief U.S. Pretrial Services Officer                                                Deputy Chief U.S. Pretrial Services Officer



                                                          December 4, 2007

      United States District Court
      United States Clerk's Office
      Edward R. Roybal Federal Building
      Room 178
      Los Angeles, California 90012
                                                                          Re: Release Order Authorization
                                                                          Defendant: Lynch, LaShawn
                                                                          Docket #: 07CR1048-4

      To Whom it May Concern:

      On December 4, 2007, the defendant's bond was set by the Honorable Stephen J. Hillman,
      at a $100,000 Appearance Bond. Special conditions of the bond include: RELEASE TO
      PRETRIAL SERVICES ONLY, for placement in an electronic monitoring program.

      Please be advised that the defendant has been found acceptable for placement in an
      electronic monitoring program.

      If you determine that the bond has been satisfied, please prepare a release order with the
      RELEASE TO PRETRIAL SERVICES ONLY box checked for the duty Magistrate
      Judge's signature.

                                                                 Sincerely,
                                                                            Digitally signed by Rachel Schnayerson

      Rachel Schnayerson                                                    DN: cn=Rachel Schnayerson, c=US, o=U.S. Pretrial Services, ou=U.S. Pretrial
                                                                            Services Officer, email=Rachel_Schnayerson@cacpt.uscourts.gov
                                                                            Date: 2007.12.04 15:50:29 -08'00'


                                                                 Rachel Schnayerson
                                                                 U.S. Pretrial Services Officer
      cc:        File                                            (213) 894-1342



[ T ] HQ & Supervision Unit             [ ] Investigation Unit              [ ] Santa Ana Branch                    [ ] Riverside Branch

        U.S. Courthouse             Edward R. Roybal Federal Building     Ronald Reagan Federal Building        George E. Brown, Jr. Courthouse
312 North Spring Street, Room 754   255 East Temple Street, Room 1178   411 West Fourth Street, Room 4070        3470 Twelfth Street, Room 161
  Los Angeles, CA 90012-4708           Los Angeles, CA 90012-3326           Santa Ana, CA 92701-4596                 Riverside, CA 92501
213-894-4726 / FAX 213-894-0231     213-894-5568 / FAX 213-894-8892     714-338-4550 / FAX 714-338-4570        951-328-4490 / FAX 951-328-4489
